                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI
                               CRIMINAL​ DIVISION

                                            )
UNITED STATES OF AMERICA,                   )
                                            )
                      Plaintiff,            )       Case No. ​2:18-CR-04017-BCW
       vs.                                  )
                                            )
EAPEN THAMPY,                               )
                                            )
                      Defendant.            )

               MOTION TO PROCEED BY VIDEO TELECONFERENCE

       COMES NOW Defendant, Eapen Thampy, by and through his attorney, pursuant to the

Criminal Case Operations Due to COVID-19 Response, respectfully requests this Court to

proceed by video teleconference for his change of plea hearing.

       According to the Criminal Case Operations Due to COVID-19 Response order, the use of

video conferencing (or telephone conferencing if video conferencing is not reasonably available)

has been authorized by United States District Court Judge Wiliam J. Epps where necessary.

       Defendant respectfully requests the Court proceed via video teleconference with a change

of plea hearing on June 16, 2020.

       Respectfully submitted,


                                            /s/ Shawn M. Lee
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